          Case 2:11-cr-00190-KJM Document 419 Filed 07/09/20 Page 1 of 1


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                                  UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                                         Case No. 2:11-CR-0190 MCE
12                         Plaintiff,
                                                         ORDER UNDER LOCAL RULE 141(b)
13                         v.

14   NICHOLAS RAMIREZ,

15                         Defendant.

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17         Having considered Mr. Ramirez’s request to file medical records under seal, the

18   Court finds compelling reason to do so to protect Mr. Ramirez’s privacy. It is hereby

19   ordered that counsel may file Exhibit 5 to Defendant Ramirez’s Emergency Motion to

20   Reduce or Modify Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A)(I) (Compassionate

21   Release), which contains Mr. Ramirez’s medical records, with this Court under seal.

22         IT IS SO ORDERED.

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24   Dated: July 9, 2020

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                                                                             Order under Local Rule 141(b)
                                                                             Case No. 2:11-CR-0190 MCE
